                          1:21-cv-01360-JES-JEH # 6            Page 1 of 2
                                                                                                         E-FILED
                                                                             Friday, 01 April, 2022 10:45:49 AM
                                                                                  Clerk, U.S. District Court, ILCD

                              UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF ILLINOIS
                                     PEORIA DIVISION

Julie Foster, individually and on behalf of all                 1:21-cv-01360-JES-JEH
others similarly situated,
                                   Plaintiff,

                     - against -

Nestle Health Science US Holdings, Inc.,
                                   Defendant

                            NOTICE OF VOLUNTARY DISMISSAL

         Plaintiff gives notice that this action is voluntarily dismissed with prejudice. Fed. R. Civ.

P. 41(a)(1)(A)(i).

Dated:        April 1, 2022
                                                           Respectfully submitted,

                                                           Sheehan & Associates, P.C.
                                                           /s/Spencer Sheehan
                                                           Spencer Sheehan
                                                           spencer@spencersheehan.com
                                                           60 Cuttermill Rd Ste 409
                                                           Great Neck NY 11021
                                                           Tel: (516) 268-7080
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                                       Certificate of Service

I certify that on April 1, 2022, I served and/or transmitted the foregoing by the method below to

the persons or entities indicated, at their last known address of record (blank where not applicable).

                                    CM/ECF            First-Class         Email             Fax
                                                         Mail
 Defendant’s Counsel                    ☐                  ☐                ☒               ☐
 Plaintiff’s Counsel                    ☒                  ☐                ☐               ☐
 Courtesy Copy to Court                 ☐                  ☐                ☐               ☐


                                                            /s/ Spencer Sheehan
